         Case 1:21-mj-00174-ZMF Document 1-1 Filed 01/27/21 Page 1 of 8




                                   STATEMENT OF FACTS


        On January 6, 2021, your affiant, Matthew Bruno was on duty and performing my official
duties as a Special Agent with the Federal Bureau of Investigation. I am currently assisting with
investigating criminal activity in and around the Capitol grounds. As a Special Agent I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, DC. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




                                                 1
          Case 1:21-mj-00174-ZMF Document 1-1 Filed 01/27/21 Page 2 of 8




        During national news coverage of the aforementioned events, video footage that appeared
to be captured on mobile devices of persons present on the scene depicted evidence of violations
of local and federal law, including scores of individuals inside the U.S. Capitol building without
authority to be there.

         On January 17, 2021, a St. Louis local TV news station, KMOV-TV (News channel 4/CBS
affiliate), posted a story titled “FBI looking for man seen wearing St. Louis Blues hat at Capitol
riot.” The story included a still image from a widely circulated video of EMILY HERNANDEZ, 1
a woman who has since been charged in the District Court for the District of Columbia with
multiple misdemeanors in connection with the Capitol riot, and an unknown man wearing a yellow
St. Louis Blues hat inside the Capitol, along with multiple other unidentified individuals during
the riot (see Figure 1). The story stated that viewers had provided them with the name of the man
in the St. Louis Blues hat, and that he lived St. Charles County, MO. News 4 stated they did not
want to identify him since he had not yet been charged. According to the News 4 report, reporters
contacted the unknown man, who informed reporters that he was “not going to say anything about
that” and hung up the phone. The media report advised readers to contact the FBI if anyone had
more information.




                                           Figure 1

         Your affiant also reviewed a video posted on the online news site, ProPublica, compiling
a timeline of videos of the Capitol riot recovered from the social media platform, Parler. One
video with the time stamp of January 6, 2021, at 2:37 p.m., depicts a woman wearing the same
clothes as HERNANDEZ, a man in a red hat and red scarf, and a man in a yellow hat and red scarf,
all as seen in Figure 1, walking through the Capitol rotunda, along with several other unidentified
individuals.


1
  The ITV News video from which the still was taken depicts an unidentified male banging an item against
something, which HERNANDEZ and an unidentified man in a red hat then pick up and wave in front of the
reporter’s camera.

                                                       2
          Case 1:21-mj-00174-ZMF Document 1-1 Filed 01/27/21 Page 3 of 8




       On January 18, 2021, FBI agents in St. Louis reviewed the News 4 post and found a
comment to the post, which read “I hear it is Paul Westover.” Agents subsequently conducted
open source searches that led to a Facebook account for a “Paul Westover” and a photograph of a
man resembling the person seen in Figure 1 above, wearing what appears to be the same St. Louis
Blues hat.

       Multiple tipsters 2 to the FBI have identified PAUL WESTOVER of Lake St. Louis,
Missouri, as the unknown male in the yellow St. Louis Blues hat standing in the Capitol, as seen
in Figure 1. Tipster 1, who knows WESTOVER personally in connection with sports played by
WESTOVER’s children, submitted multiple photos of WESTOVER inside the Capitol from
widely circulated coverage of HERNANDEZ and ITV News footage (see Figures 2-5). Tipster 1
included a photo from WESTOVER’s Facebook account, which the tipster stated was public at
the time, wearing what appears to be the same yellow hat during a Stanley Cup celebration of the
St. Louis Blues (see Figure 2). Tipster 1 was able to verify that the Facebook account was in fact
WESTOVER’s account because the account contained photographs of WESTOVER’s children,
whom Tipster 1 knows.

    Tipster 2, who went to high school with WESTOVER and was a Facebook friend of
WESTOVER, identified the individual seen wearing the yellow hat in Figures 1, 3, and 4 as
WESTOVER from Lake St. Louis, Missouri. Tipster 2 also submitted a photograph of
WESTOVER from inside the Capitol the day of the riot (see Figure 7).

         Tipster 3, who does not know WESTOVER personally, posted on their Facebook and
Twitter accounts: “This person, prob from St. Louis area, was part of Jan 6 coup attempt, standing
next to a mob member from Franklin County, MO. Wearing a Blues cap. Can you ID him/her?
If so, go to fbi.gov/USCapitol” (see Figure 6). The Tipster received multiple messages in response
identifying the man in the yellow St. Louis Blues hat as WESTOVER, including some messages
submitting the same photograph of him wearing a yellow St. Louis Blues next to the NHL Stanley
Cup—St. Louis hosted the NHL All Star game on January 25, 2020 (see Figure 2).




2
  The FBI received countless tips regarding the unknown male in the yellow St. Louis Blues hat standing in the
Capitol. The overwhelming majority of the tips stated that the unknown male was Paul Westover from Lake St.
Louis, Missouri. The FBI received a few tips with other names, but after interviewing tipsters who had a personal
relationship with WESTOVER, it was apparent that WESTOVER was the unknown male in the yellow St. Louis
Blues hat. Local news station KMOV channel 4 also provided WESTOVER’s name to the FBI after multiple
viewers responded to its story about the unknown male.

                                                         3
Case 1:21-mj-00174-ZMF Document 1-1 Filed 01/27/21 Page 4 of 8




                            Figure 2




                Figure 3                     Figure 4




                              4
Case 1:21-mj-00174-ZMF Document 1-1 Filed 01/27/21 Page 5 of 8




                            Figure 5




                            Figure 6


                              5
         Case 1:21-mj-00174-ZMF Document 1-1 Filed 01/27/21 Page 6 of 8




                                               Figure 7

        On January 22, 2021, Tipster 2 reported that WESTOVER had been live streaming from
his Facebook account the morning of January 6, 2021, while at the outdoor rally in support of
former President Donald Trump in Washington, DC, and later in front of the Capitol building.
Tipster 2 informed the FBI that in one live video of the rally that WESTOVER had posted to his
Facebook account, WESTOVER can be heard saying something to the effect of “look at all the
patriots on Pennsylvania Avenue,” while panning the camera to depict the crowd, including many
individuals waving flags with the word “Trump” on them. Tipster 2 also advised that in another
live video that he/she saw posted by WESTOVER to his Facebook, WESTOVER appeared to be
recording from right outside the barricades set up outside the Capitol building. In this video,
according to Tipster 2, WESTOVER can be heard saying something to the effect of “they have
rubber bullets” and “they are about to disperse the crowd.” Tipster 2 reviewed WESTOVER’s
Facebook account later that day and saw that the videos from WESTOVER’s live streams had
been taken down.

        On January 21, 2021, the FBI sent legal process to Facebook regarding a Facebook account
bearing the username paul.westover.10, which had been identified and verified by Tipster 2 as
belonging to WESTOVER. Facebook returned a telephone number used to create the Facebook
account, ending in -9819. Open source searches revealed that the -9819 number belonged to a
PAUL WESWOVER residing at an address in Lake St. Louis, Missouri. This same address is
listed as the residence of PAUL WESTOVER on his driver’s license. Finally, the individual in
the yellow St. Louis Blues hat seen in Figures 1 through 7 is consistent with the physical
appearance of WESTOVER, as seen in WESTOVER’s driver’s license photograph.

        On January 23, 2021, the FBI again sent further legal process to Facebook regarding the
Facebook account bearing the username paul.westover.10. In response, Facebook returned, among
other content, a video posted to the account on January 6, 2021, appearing to depict a crowd
attempting to breach a police barricade set up on a set of steps outside the Capitol building and
guarded by approximately six law enforcement officers. The recorder of the video, presumably
WESTOVER, appears to be about four individuals back from the edge of the barricade. At the 45
second mark, an individual who appears to be the recorder, based on the clarity of the audio and
apparent proximity of the individual to the recording device, can be heard saying: “We are on the
front line.” Approximately fifteen seconds later, the crowd breaches the police barricade and

                                               6
           Case 1:21-mj-00174-ZMF Document 1-1 Filed 01/27/21 Page 7 of 8




begins charging past the retreating police officers, including the recorder of the video, who can be
seen going up the Capitol steps along with the rest of the crowd. 3

        Based on the foregoing, your affiant submits that there is probable cause to believe that
PAUL WESTOVER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant also submits there is also probable cause to believe that PAUL WESTOVER
violated 40 U.S.C. § 5104(e)(2)(D) utter loud, threatening, or abusive language, or engage in
disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings
with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either
House of Congress, or the orderly conduct in that building of a hearing before, or any deliberations
of, a committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket
in any of the Capitol Buildings.

        Finally, your affiant submits there is probable cause to believe that PAUL WESTOVER
violated 18 U.S.C. § 231(a)(3) and 18 U.S.C. § 2, which makes it unlawful to commit or attempt
to commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer
lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function (including to aid and abet in the commission of
such an offense). For purposes of Section 231 of Title 18, a federally protected function means
any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.




3
  In its return, Facebook did not provide videos of live streams matching the descriptions provided by Tipster 2, as
described above. On its website, Facebook explains that “[w]hen you choose to delete something you shared on
Facebook, we remove it from the site. Some of this information is permanently deleted from our servers; however,
some things can only be deleted when you permanently delete your account.” Upon information and belief, based
on consultations by government counsel with Facebook, Facebook does not retain videos deleted by the user unless
a preservation request is in place.

                                                          7
         Case 1:21-mj-00174-ZMF Document 1-1 Filed 01/27/21 Page 8 of 8




                                                    _________________________________
                                                    SA Matthew Bruno
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 27th day of January 2021.
                                                                          2021.01.27
                                                                          20:00:24 -05'00'
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE




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